                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

NETCHOICE, LLC d/b/a NetChoice,           )
a 501(c)(6) District of Columbia organization,
                                          )
                                          )
                     and                  )
                                          )
COMPUTER & COMMUNICATIONS                 )
INDUSTRY ASSOCIATION d/b/a CCIA, a        )
501(c)(6) non-stock Virginia Corporation, )      Civil Action No. 1:21-cv-00840-RP
                                          )
       Plaintiffs,                        )
                                          )
       v.                                 )
                                          )
KEN PAXTON, in his official capacity as   )
Attorney General of Texas,                )
                                          )
       Defendant.                         )
_________________________________________ )

                      PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF
                      MOTION FOR PRELIMINARY INJUNCTION
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                                        INTRODUCTION

       This is a straightforward First Amendment case. House Bill 20 (“H.B. 20”) is a content-,

speaker-, and viewpoint-based law regulating companies that are necessarily and primarily engaged

in the moderation, organization, and display of expression. Such a law triggers strict scrutiny, and

Defendant has failed to provide a compelling government interest or demonstrate narrow tailoring.

       Defendant’s scattershot opposition brief remarkably fails to respond to the leading cases

Plaintiffs cited regarding the rights of privately owned platforms to exercise editorial control over

their moderation, presentation, and distribution of others’ speech. Hurley v. Irish-Am. Gay, Lesbian

& Bisexual Grp. of Boston, 515 U.S. 557, 581 (1995); Pacific Gas & Elec. Co. v. Pub. Utils. Comm’n

of Cal., 475 U.S. 1, 12 (1986) (plurality op.) (“PG&E”); Miami Herald Publ’g Co. v. Tornillo, 418

U.S. 241, 258 (1974). Defendant also says nothing about the Supreme Court’s holding that First

Amendment rights on the Internet receive full protection. Reno v. ACLU, 521 U.S. 844, 871 (1997).

Defendant further fails to respond to the leading case on disclosures chilling First Amendment rights.

NIFLA v. Becerra, 138 S. Ct. 2361, 2378 (2018). And Defendant ignores the decision enjoining a

similar law. NetChoice, LLC v. Moody, 2021 WL 2690876, at *12 (N.D. Fla. June 30, 2021). In-

stead of grappling with this caselaw, Defendant’s main argument is a newly concocted common-

carrier test—created by a paid purported “expert”—that has no basis in First Amendment law. Dkt.39

(“Opp.”) at 3-9. Defendant claims that states can strip entities of their First Amendment rights by

deeming them “common carriers.” No court has ever adopted such an extreme position.

       At base, Defendant defends a law very different from the one Texas enacted. Defendant pre-

tends social-media platforms will be hardly affected by H.B. 20. But Defendant asserts inconsistent

positions—that H.B. 20 is “content-neutral,” Opp.21-23; while asserting H.B. 20 contains a “con-

tent”-based exception permitting “Platforms to choose which content it does [sic] not want on their

platforms,” Opp.11; and later positing H.B. 20 is “viewpoint”-based, Opp.18.


                                                  1
          Tellingly, Defendant does not dispute H.B. 20 prohibits platforms from removing, for exam-

ple, “pro-Nazi speech, medical misinformation, terrorist propaganda, and foreign government disin-

formation,” or “Holocaust denial” and “vaccine misinformation.” Dkt.12 (“Mot.”) at 1, 19. H.B. 20

prohibits this content moderation based on viewpoints like these and there are all sorts of objection-

able viewpoints platforms do not want to disseminate. H.B. 20 is an overbroad, content-, speaker-,

and viewpoint-based law compelling the global dissemination of speech by out-of-state platforms.

Plaintiffs respectfully request this Court grant a preliminary-injunction before H.B. 20 takes effect.

                                                   ARGUMENT

I.        Plaintiffs have standing.

          Defendant incorporates (Opp.44-45) his erroneous standing arguments, and Plaintiffs in-

corporate their standing arguments already raised in their opposition to Defendant’s motion to

dismiss, Dkt.28 (“Plfs. Standing Br.”). Defendant still fails to respond to the caselaw Plaintiffs

cited, Dkt.28 at 4-7, despite this second opportunity to do so here. Specifically, (1) Plaintiffs’

members exercise their editorial judgment in a way H.B. 20 prohibits and burdens; (2) they are the

direct object of H.B. 20’s regulation; and (3) they will incur costs to comply with the law. See

Ex.C ¶ 60; Ex.D ¶¶ 26, 34. Thus, Plaintiffs have (1) associational standing, because their members

have standing; and (2) organizational standing. Plaintiffs also raise an “overbreadth” claim—a

“departure from traditional rules of standing in the First Amendment area” allowing litigation for

interests of “others not before the court.” Broadrick v. Oklahoma, 413 U.S. 601, 612-13 (1973).1

II.       H.B. 20 violates the First Amendment.

          H.B. 20 infringes editorial discretion, is content-based, imposes onerous disclosure and




      In response, many of Defendant’s arguments rely on premature merits arguments. But “when considering
      1

whether a plaintiff has Article III standing, a federal court must assume arguendo the merits of his or her legal claim.”
N. Cypress Med. Ctr. Operating Co., Ltd. v. Cigna Healthcare, 781 F.3d 182, 191 (5th Cir. 2015) (cleaned up).


                                                           2
operational requirements, and is vague. See infra Parts II.A-II.D. Each of these triggers strict scru-

tiny, and H.B. 20 fails any form of heightened First Amendment scrutiny. See infra Part II.E.

Defendant’s main argument is that common carriers lacks First Amendment rights, but Supreme

Court precedent dictates that common carriers retain First Amendment rights—and social media

platforms are not common carriers in any event. See infra Part II.F.

        A.       H.B. 20 abridges covered platforms’ protected editorial discretion.

        1. Defendant cites no case holding that Internet platforms lack the right to engage in edito-

rial discretion, and every court to consider the issue has held otherwise. Defendant flatly ignores

the principles established by Tornillo, Hurley, and PG&E. Those cases recognize the First Amend-

ment protects privately owned entities’ editorial discretion to decide what expression to dissemi-

nate via their platforms and how to present that expression. See Mot.14-18; Pittsburgh Press Co.

v. Pittsburgh Comm’n on Human Relations, 413 U.S. 376, 391 (1973) (“reaffirm[ing] unequivo-

cally the protection afforded to editorial judgment” over “content or layout” of “stories or com-

mentary”). The Supreme Court, therefore, has consistently recognized the right of private busi-

nesses to “exercise editorial discretion over [] speech and speakers,” even when they “provide[] a

forum for speech.” Manhattan Cmty. Access Corp. v. Halleck, 139 S. Ct. 1921, 1930 (2019).2

        The Supreme Court has explained that Tornillo’s key insight—“the editorial function itself

is an aspect of ‘speech,’” Denver Area Educ. Telecomms. Consortium v. FCC, 518 U.S. 727, 737

(1996) (plurality op.)—is not “restricted to the [traditional] press,” but applies equally to “business

corporations generally,” as well as “ordinary people,” Hurley, 515 U.S. at 574. Across the various

factual scenarios of these cases, “compelling a private corporation to provide a forum for views”



    2
      Defendant asserts that “Plaintiffs do not suggest that they challenge H.B. 20 on the ground that the Platforms
can choose what content to permit or deny.” Opp.12. But that is Plaintiffs’ lead argument about editorial discretion.
See Mot.14-18.


                                                         3
it finds objectionable, PG&E, 475 U.S. at 9, poses the “inherent risk” that the state seeks to “ma-

nipulate the public debate through coercion rather than persuasion,” Turner Broad. Sys., Inc. v.

FCC, 512 U.S. 622, 641 (1994). That is impermissible, as the Northern District of Florida and

several other courts uniformly recognize—which Defendant entirely ignores. See Mot.17; EFF

Br.13-14 (collecting cases applying Tornillo to platforms); Chamber of Progress Br.5-12.

         Defendant argues that First Amendment protection should differ for entities disseminating

“the speech of others” versus “authors or editors engaged in their own publication.” Opp.13. But

Tornillo, Hurley, and PG&E involved speech created by others, and in each case the Supreme

Court held that the government could not compel private entities to disseminate such speech.

Tornillo, 418 U.S. at 247, 258; Hurley, 515 U.S. at 561, 576; PG&E, 475 U.S. at 5, 20-21.

         Defendant’s argument has no limit and would give government all sorts of power to control

speech. Consider the wide swath of entities vital to disseminating others’ speech—bookstores,

book publishers, essay-compilation editors, theaters, newspaper letters to the editor and op-eds,

live television guest interviews, cable television operators offering cable channels, art shows, com-

munity bulletin boards, and comedy clubs, just to name a few. According to Defendant, the gov-

ernment could compel them to disseminate (or block them from disseminating) certain speech

authored by others. Case after case rejects this unlawful assertion of government power.3

         2. Defendant argues that covered platforms’ use of human-programmed computer “algo-




     3
       E.g., Int’l Soc. for Krishna Consciousness v. Lee, 505 U.S. 672, 702-03 (1992) (“right to distribute” expressive
content “lies at the heart of the liberties guaranteed by the Speech and Press Clauses of the First Amendment”) (O’Con-
nor, J., concurring); Smith v. California, 361 U.S. 147, 150 (1959) (“free publication and dissemination of books and
other forms of the printed word furnish very familiar applications of these constitutionally protected freedoms”) (em-
phases added); Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 64 n.6 (1963) (“the circulation of books”); Prison Legal
News v. Livingston, 683 F.3d 201, 212 (5th Cir. 2012) (same); Muir v. Ala. Educ. Television Comm’n, 656 F.2d 1012,
1016 (5th Cir. 1981) (“speaking, book publishing, theatre presentations, pamphleteering”); Bayou Landing, Ltd. v.
Watts, 563 F.2d 1172, 1175 (5th Cir. 1978) (“magazines[] and films”).


                                                          4
rithmic” tools for exercising editorial discretion is unprotected conduct, rather than protected ex-

pression. Opp.14-17. But using technology to aid editorial judgment does not transform the cov-

ered platforms’ protected content moderation, organization, and dissemination into unprotected

conduct. After all, if a newspaper used an algorithm to weed out certain submissions, its decision

whether to publish an op-ed is no less expressive. The same would be true of a bookstore’s use of

an algorithm to select books that would be most relevant for sale to its community. All witnesses

from Plaintiffs and their members testified that covered platforms’ content moderation is inher-

ently expressive, as it conveys the included content is “worthy of presentation and quite possibly

of support as well.” Hurley, 515 U.S. at 575; see Dkt.39-2 (“Potts Dep.”) 65:9-67:10; Dkt.39-4

(“Szabo Dep.”) 68:16-69:4; Dkt.39-5 (“Schruers Dep.”) 72:9-73:17; 74:20-76:4; Ex.C ¶¶24-27.4

         In all events, Defendant ignores that the covered platforms’ human employees create the

“algorithmic” editorial tools to effectuate the covered platforms’ policies regarding acceptable

content and optimal organization plus display, and that the algorithms reflect the editorial judg-

ments of these humans and platforms. Accordingly, as every court to consider the issue has held,

the First Amendment equally protects “algorithms to screen all content for unacceptable material.”

NetChoice, 2021 WL 2690876, at *8; see Mot.17 (collecting cases); Plfs. Standing Br.1 n.11

(same).5 Defendant makes no response to this caselaw. Even if human-programmed algorithms are

a relatively new technology for exercising editorial discretion, “[g]overnmental restraint on pub-

lishing need not fall into familiar or traditional patterns to be subject to constitutional limitations

on governmental power.” Tornillo, 418 U.S. at 256. Constitutional protections “do not vary when


    4
      All citations to depositions reference the depositions that Defendant attached to his opposition.
    5
      In addition to being constitutionally protected, the algorithms are necessary to moderate content (including re-
moving unspeakable content like Child Sex Abuse Material) at scale. See Mot.3. The sheer volumes necessitates
technological help: “500 hours of content are uploaded every minute” to YouTube. Dkt. No. 12-3, ¶ 3 (YouTube
Decl.).“Users of Facebook’s products share over a billion stories and over 100 billion messages, every day.” Dkt. No.
12-4, ¶ 2 (Facebook Decl.).


                                                          5
a new and different medium for communication appears.” Brown v. Entm’t Merchs. Ass’n, 564

U.S. 786, 790 (2011) (internal quotation marks omitted).

         Just because expression “can be reduced to [its] constituent acts, and thus described as

conduct,” the expressive “end product” cannot be “disconnect[ed] . . . from the act of creation.”

Turner v. Driver, 848 F.3d 678, 689 (5th Cir. 2017). Whatever “conduct” covered platforms’ con-

tent moderation entails, this is inextricably intertwined with constitutionally protected editorial

discretion over the dissemination and display of speech.6 For instance, a newspaper editorial is

undoubtedly expressive even though it entails the “conduct” of writing and editing. Likewise, the

“creation of custom wedding cakes is expressive”—notwithstanding the “conduct” of combining

ingredients, baking, and decorating—because the result is expressive. Masterpiece Cakeshop, Ltd.

v. Colorado Civil Rights Comm’n, 138 S. Ct. 1719, 1743 (2018) (Thomas, J., concurring).

         Defendant next argues that the First Amendment does not protect algorithm use because

the algorithms are purportedly designed to maximize “profit” or user “engagement”—and not to

effectuate the platforms’ editorial policies. Opp.15-16. That is wrong, as the record indisputably

establishes that the algorithms at issue here effectuate the platforms’ policies. E.g., Ex.A ¶ 19;

Ex.C ¶ 7; Dkt.39-3 (“Veitch Dep.”) 61:8-16; Potts Dep. 65:9-67:10; Szabo Dep. 68:16-69:4;

Schruers Dep. 72:9-73:17; 74:20-76:4; 87:8-88:5; 167:11-168:8. Even assuming that the platforms

may use other algorithmic means to increase user engagement, that is separate and apart from

whether they also use algorithms to implement their content moderation policies.

         Regardless, profit, viewership, and engagement motives are permissible editorial goals.


    6
      Defendant’s own hypothetical about car alarms is illustrative: Because few (if any) would use a car alarm ex-
pressively, the algorithm that makes the alarm function would generally not be protected expression. Opp.14 n.82.
But in a movie or art installation in which an artist uses car alarms to express a message, that alarm (and everything
necessary to make the alarm function) would be protected expression. The same is true here: regardless of whether
there are contexts in which algorithms in the abstract are not expression, covered platforms use algorithms to exercise
editorial discretion facilitating expression.


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“[A] profit motive does not strip communications of constitutional protections.” Peter Scalaman-

dre & Sons, Inc. v. Kaufman, 113 F.3d 556, 561 (5th Cir. 1997). That speech is “published and

sold for profit does not prevent [it] from being a form of expression whose liberty is safeguarded

by the First Amendment.” Joseph Burstyn, Inc. v. Wilson, 343 U.S. 495, 501 (1952); e.g., Va. State

Bd. of Pharmacy v. Va. Citizens Consumer Council, Inc., 425 U.S. 748, 761 (1976) (collecting

examples of for-profit expression that does not qualify as “commercial speech”); Smith, 361 U.S.

at 150 (collecting cases). Likewise, First Amendment protections are not “lessened by the fact that

[expression is] designed to entertain as well as to inform,” because the “‘line between the inform-

ing and the entertaining is too elusive for the protection of that basic right (a free press).’” Burstyn,

343 U.S. at 501-02 (quoting Winters v. People of State of New York, 333 U.S. 507, 510 (1948)).

         Finally, Defendant asserts that this Court cannot conclude that algorithms are (and facili-

tate) expression without itself reviewing and evaluating every single algorithm the platforms em-

ploy. Opp.15-17. This is a red herring and fundamentally misunderstands the First Amendment

analysis, which does not depend on factual distinctions about how individual platforms choose to

exercise editorial discretion or how the platforms’ human-generated computer code implements

those judgments.7 The First Amendment protects all editorial discretion—whether inconsistent or

arbitrary, “fair or unfair.” Tornillo, 418 U.S. at 258. The platforms’ moderation “need not be ac-

ceptable, logical, consistent, or comprehensible to others in order to merit First Amendment pro-

tection.” Thomas v. Review Bd., 450 U.S. 707, 714 (1981). Regardless, the undisputed facts in this

case establish that platforms use the algorithms to effectuate their content-moderation policies and

express the platforms’ view about acceptable content. See Potts Dep. 65:9-67:10; Szabo Dep.



    7
      Defendant cannot complain about the expedited discovery to which he believes he was entitled. As reflected in
this Court’s order, Defendant did “not negotiate[ ] with Plaintiffs or follow[ ] this Court’s order in good faith” and
“needlessly wasted its very limited time to seek discovery.” Dkt.36 at 1-2.


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68:16-69:4; Schruers Dep. 72:9-73:17; 74:20-76:4; Veitch Decl. ¶24 (“Machine learning is the

product of human decision-making and is used to implement the standards set in our Community

Guidelines, thereby reflecting YouTube’s editorial judgments”); see also Exs. H, I (interrogatory

responses regarding content-moderation policies). It does not matter whether the algorithms apply

“automatically,” or whether humans review decisions effectuated by the programs they created to

apply policies at scale. Opp.15. These are tools to exercise editorial discretion, so the First Amend-

ment protects them, as every court to date has held.

       3. Defendant also argues that covered platforms’ selection, arrangement, and presentation

of content falls within the “commercial speech” doctrine deserving lesser scrutiny. Opp.18-21.

There are at least two problems with this argument. First, like other speech compilations, expres-

sion disseminated by covered platforms does not come close to falling within the limited definition

of the “commercial speech” doctrine. The Supreme Court’s broadest definition of the “commercial

speech” doctrine encompasses speech that only is “expression related solely to the economic in-

terests of the speaker and its audience.” Express Oil Change, L.L.C. v. Miss. Bd. of Licensure for

Pro. Eng’rs & Surveyors, 916 F.3d 483, 488 n.2 (5th Cir. 2019) (cleaned up). At its narrowest,

“the proposal of a commercial transaction” is “the test for identifying commercial speech.” City of

Cincinnati v. Discovery Network, Inc., 507 U.S. 410, 423 (1993) (cleaned up). Neither definition

is met here, and the law is fatally overbroad—as covered platforms disseminate all sorts of view-

points having nothing to do with proposing a commercial transaction or solely the speaker’s eco-

nomic interests. Moreover, that the platforms remove objectionable content to foster, maintain,

and protect their online communities and improve their services (which might incidentally make

them more popular and profitable, addressed above at pp.6-7) does not constitute “commercial




                                                  8
speech.”.8

        Second, even assuming that covered platforms’ speech dissemination somehow were com-

mercial speech, H.B. 20 still would be subject to heightened “intermediate scrutiny.” Milavetz,

Gallop & Milavetz, P.A. v. United States, 559 U.S. 229, 249 (2010); Sorrell v. IMS Health, Inc.,

564 U.S. 552, 571 (2011). H.B. 20 is not tailored to ban deceptive commercial speech or commer-

cial speech related to illegal activity. Id. If anything, the opposite is true: H.B. 20 compels further

speech from the platforms that they do not want to be disseminated.

        B.       H.B. 20’s content moderation ban is content- and viewpoint-based.

        Where Defendant does not ignore the various ways that H.B. 20 is speaker-, content-, and

viewpoint-based, he misportrays what the law requires of covered platforms. Opp.21-25.

        1. Defendant makes the astonishing claim that H.B. 20 is “content- and speaker-neutral”—

on the basis that H.B. 20 purportedly “regulates all social media platforms, regardless of political

preferences, without reference to specific types of content or viewpoint in any way.” Opp.22-23.

        This ignores the actual text of H.B. 20 and grossly misunderstands the distinction between

“viewpoint” and “content.” See Mot.26-28. Defendant ignores that H.B. 20’s central “social media

platform” definition is clearly viewpoint-, speaker-, and content-based: (1) it covers only a select

group of “social media platforms” with 50 million or more active monthly U.S. users, see Mot.27;

(2) the “social-media-platform” definition is itself also content-based, excluding websites or ap-

plications that “consist[] primarily of news, sports, entertainment, or other information or content

that is not user generated but is preselected by the provider” where user chats and comments are

“incidental to” the content posted by the website or application, Tex. Bus. & Com. Code


     8
       If a covered platform advertised its own services, that advertisement might constitute commercial speech. But
if a platform moderates speech it disseminates—which may result in more advertising revenue—that would not be
“commercial speech.” E.g., Prager Univ. v. Google LLC, 951 F.3d 991, 999 (9th Cir. 2020) (“YouTube’s statements
concerning its content moderation policies do not constitute 'commercial advertising or promotion.’”).


                                                         9
§ 120.001(1)(A)-(C); Mot.27; and (3) the enactment history shows covered platforms were tar-

geted for perceived liberal bias, Mot.6-7; see NIFLA, 138 S. Ct. at 2379 (Kennedy, J., concurring)

(noting that the “history of the Act’s passage” confirms viewpoint discrimination).

        Likewise, Defendant ignores that H.B. 20’s central prohibition on “viewpoint”-based con-

tent moderation is content- and viewpoint-based. H.B. 20 carves out two categories of speech for

favored treatment. Mot.9, 26-27. And Defendant himself identifies certain categories of content

that covered platforms may purportedly moderate (although some, like “racism,” are viewpoints

covered by H.B. 20). Opp.11-13. These plainly make H.B. 20 content-based.

        Defendant further obfuscates when he argues that H.B. 20’s prohibition on “viewpoint”-

based content moderation is not itself viewpoint-based, which is contrary to decades-old precedent

and common sense. Opp.10-13. While some cases may present difficulties distinguishing view-

point-based versus content-based restrictions, this is a straightforward case: Platforms’ “hate

speech” policies are plainly “viewpoint”-based under binding Supreme Court and Fifth Circuit

precedent. As the Fifth Circuit recognized, the Supreme Court has held that the “subjective judg-

ment that the content of protected speech is offensive or inappropriate is” based on “viewpoint.”

Robinson v. Hunt Cnty., 921 F.3d 440, 447 (5th Cir. 2019) (citing Matal v. Tam, 137 S. Ct. 1744,

1763 (2017)). When a platform moderates hate speech (including “racism,” Opp.11), it makes an

expressive decision for which the “specific motivating ideology or the opinion or perspective of

the speaker”—i.e., the hateful opinion—“is the rationale” for the moderation. Rosenberger v. Rec-

tor & Visitors of Univ. of Va., 515 U.S. 819, 829 (1995) (citation omitted).9 It does not change the

analysis that an “entire class of viewpoints” might be captured by a category like “hate speech.”




    9
      Content-based laws “target speech based on its communicative content.” Reed v. Town of Gilbert, 576 U.S. 155,
163 (2015).


                                                        10
Id. at 831. Indeed, content espousing white supremacist rhetoric plainly reflects the speaker’s dis-

tinct “viewpoint”; the First Amendment protects platforms’ decisions to remove such content.

         2. Defendant asserts—contrary to H.B. 20’s plain text—that H.B. 20 “permits the Plat-

forms to continue doing the very content moderation they are doing already.” Opp.13 (emphasis

omitted).10 Defendant is wrong and misapprehends H.B. 20’s plain text and the distinction between

“viewpoint” and “content.”11

         H.B. 20 forbids covered platforms from moderating content “based on . . . the viewpoint”

of a user or “the viewpoint” expressed in the content. Tex. Civ. Prac. & Rem. Code § 143A.002(a).

As just explained, platforms’ enforcement of their hate-speech policies for content moderation

would be prohibited by H.B. 20. That is because hate-speech policies reflect the “subjective judg-

ment that the content of protected speech is offensive or inappropriate,” and this is a judgment

based on the expression’s “viewpoint.” Robinson, 921 F.3d at 447. So contrary to Defendant’s

position in its brief, platforms’ moderation of speech espousing “racism,” Opp.13, would be pro-

hibited by H.B. 20’s plain text and the accepted legal definition of “viewpoint.”

         There are countless other possible examples of posts that platforms might moderate based

on viewpoint. Consider one of Defendant’s own examples: While “terrorist speech” that simply

presents a direct threat of violence might be “content”-based but not viewpoint -based, Opp.11, a



     10
        Even if Defendant’s atextual gloss on H.B. 20’s plain text could be accepted, it is only because of Defendant’s
legal briefing in this case. Plaintiffs are still entitled to a preliminary injunction and declaration against H.B. 20’s
enforcement against them, which will prevent the chilling of their First Amendment rights. 28 U.S.C. § 2201(a);
Freedom from Religion Found. v. Abbott, 955 F.3d 417, 424 (5th Cir. 2020).
     11
        Neither Plaintiffs’ nor their members’ witnesses “attested to knowing the difference [between content and
viewpoint],” in every possible case despite Defendant’s apparent citations to the contrary. Opp.13. The line between
viewpoint and content is not so clear as to provide covered platforms’ any certainty (though Defendant misstates even
where that murky line might be drawn). For instance, the cited testimony from the CCIA witness discusses how ex-
toling the virtues of cannabis is very much expressing a viewpoint (which H.B. 20 would require the platforms to
disseminate) even though it may fall within a broader content-based category of illegal-drug discussion. Schruers Dep.
78:9-79:7. And the testimony from the YouTube witness immediately preceding that cited by Defendant explained
how certain categories can be both content-based and viewpoint-based. Veitch Dep. 43:14-44:5.


                                                          11
post of “terrorist propaganda” saying “ISIS is better than America” expresses a viewpoint covered

by H.B. 20, Mot.1, 19. Similarly, platforms might moderate a video depicting ISIS acts if the

viewpoint promotes ISIS, while they might disseminate this video if it espouses a newsworthy

viewpoint documenting harms caused by ISIS. Or consider a post with a video of a speech by

Adolf Hitler. Platforms might moderate this content in some situations but not in others, and it

could depend on the viewpoint espoused. If the surrounding context clarifies that the post espouses

a viewpoint promoting Naziism or genocide, then platforms could moderate this speech based on

that viewpoint. But if the speech is presented for historical documentaries or evidence that the

Holocaust was real, platforms may choose to disseminate this content to further the educational

message about the atrocities of the Nazis and the Holocaust. E.g., Ex.C ¶ 30.

       All of this accords with the distinction that the Supreme Court has drawn between view-

point- and content-based regulation. As described above, viewpoint concerns “perspective,” while

content concerns “the general subject matter.” Rosenberger, 515 U.S. at 831. If the Texas Legis-

lature wanted “viewpoint” to mean something besides what the Supreme Court and Fifth Circuit

say it means, then it should have defined this term. It did not. And Defendant’s briefing only con-

firms, if not increases, this statute’s vagueness.

       C.      H.B. 20’s content- and speaker-based disclosure and operational requirements
               are unconstitutional.

       In a single paragraph that does not respond to NIFLA or Washington Post, Defendant as-

serts that H.B. 20’s disclosure and operational requirements are constitutional. Opp.25-26. But as

Plaintiffs explained (Mot.23-26), these “unduly burdensome disclosure requirement[s]” are de-

signed to chill First Amendment rights. NIFLA, 138 S. Ct. at 2378. “Indeed, some of the disclosure

provisions seem designed not to achieve any governmental interest but to impose the maximum

available burden on the social media platforms.” NetChoice, 2021 WL 2690876, at *11.



                                                     12
          Importantly, Defendant does not dispute that H.B. 20 imposes onerous disclosure and op-

erational requirements—such as requiring platforms to provide excruciating detail about modera-

tion decisions they make billions of times each day (Tex. Bus. & Com. Code §§ 120.051-.053),

and mandating a public notice-and-complaint-appeal process for content moderation with very

short deadlines (id. § 120.101-.104). Mot.23-26. The unrebutted evidence demonstrates the burden

of meeting these requirements, as they will require global changes to the platforms’ operations.

Potts Dep. 156:8-162:17; Potts Dep. 179:14-180:24; Szabo Dep. 115:14-116:1; Schruers Dep.

119:14-122:5; Ex.A ¶¶ 42-44; Ex.B ¶¶ 16-18, 23; Ex.C ¶¶ 55-58; Ex.D ¶¶ 26, 28-33. Furthermore,

providing more information will only aid predators, who can use every incremental piece of infor-

mation to better evade moderation. Dkt.39-6 (“Rumenap Dep.”) 40:5-18.

          Defendant does not contest that the disclosure and operational requirements only apply to

a subset of “social media platforms” on the Internet. Nor does he contest that such disclosure and

operational requirements would be wholly inappropriate as applied to any other speech dissemi-

nator like bookstores, art shows, newspapers, theaters, and many more. Mot.23-24. Instead, De-

fendant likens H.B. 20’s disclosures of editorial practices to disclosing “country-of-origin,” “cal-

orie counts,” and “hazardous material” disclosures. Opp.25. But none of these involve intrusions

on the dissemination of expression and the exercise of editorial judgment, as they only implicate

the sale of non-expressive products. The closest Defendant gets to substantively responding is

presenting a parade of horribles about securities and campaign-finance disclosure laws. But SEC

disclosures generally do not burden editorial discretion over disseminating expression. And cam-

paign-finance disclosures do burden expression and association, which triggers First Amendment

heightened scrutiny. Ams. for Prosperity Found. v. Bonta, 141 S. Ct. 2373, 2383 (2021).12


   12
        In the unique campaign-finance context, less-than-strict scrutiny has been justified for disclosure laws on the



                                                          13
         D.       H.B. 20 is unconstitutionally vague.

         Defendant argues that none of Plaintiffs’ witnesses expressed any vagueness concerns. But

they did: (1) H.B. 20’s use of “viewpoint” is vague, e.g., Potts Dep. 124:19-125:17; Schruers Dep.

79:8-16; 80:3-16; (2) they were unsure about how to comply with the law, e.g., Ex.C ¶ 51; Potts

Dep. 129:18-130:6; (3) they do not know how to implement the user-directed blocking, e.g., id.

118:18-119:19; (4) the statutory definition of “social media platform” is vague, e.g., Szabo Dep.

96:12-21; (5) other forms of moderation might be covered, e.g., Schruers Dep. 84:7-85:5; and

(6) moderation and expression will be chilled as a result, e.g., id. 76:5-77:9. At any rate, whether

a law is void for vagueness is a “question of law.” United States v. Coleman, 609 F.3d 699, 706

(5th Cir. 2010).

         In addition, Defendant has further ignored Plaintiffs’ arguments from their motion.13 First,

Defendant contends Plaintiffs failed to demonstrate H.B. 20’s prohibition on denying “equal ac-

cess or visibility to” content is vague. Opp.28. But covered platforms plainly moderate content in

part by displaying and arranging content, and it would be near impossible for platforms to under-

stand much less operationalize this requirement across billions of pieces of content. E.g.,

NetChoice, 2021 WL 2690876, at *11. Second, Defendant (Opp.28) offers no clarity about the

meaning of the “social media platform” definition and responds to none of Plaintiffs’ arguments.

See Mot.29. To be sure, some platforms can reasonably conclude that they are covered by H.B. 20.




basis that they further the government interests in preventing quid pro quo “corruption” and providing the “electorate
with information as to where political campaign money comes from and how it is spent by the candidate in order to
aid the voters in evaluating those who seek federal office.” Buckley v. Valeo, 424 U.S. 1, 66 (1976) (per curiam)
(footnote omitted). Neither is present with the dissemination of speech by social-media platforms.
     13
        Plaintiffs properly raised facial challenges, contrary to Defendant’s insinuations, Opp.14, 17, 29. Any possible
difference between facial, overbreadth, and as-applied claims does not matter here. See Plfs. Standing Br.17-18; e.g.,
Citizens United v. FEC, 558 U.S. 310, 331 (2010) (“[O]nce a case is brought, no general categorical line bars a court
from making broader pronouncements of invalidity in properly ‘as-applied’ cases.”) (internal quotation marks omit-
ted).


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But many others lack any insight into whether they will be subject to the law’s draconian require-

ments. Third, Defendant (Opp.28) offers no clarity about when the Texas Attorney General may

sue for a “potential violation,” and fails to respond to Plaintiffs’ argument that this language is

anomalous in Texas statutes (instead citing to a single federal whistleblower statute). Fourth, De-

fendant (Opp.28) does not respond to Plaintiffs’ argument that H.B. 20’s disclosure provisions

provide non-exhaustive lists of materials to disclose, which would subject covered platforms to

liability at the whim of the Texas Attorney General. See Mot.11, 30. Finally, Defendant relies on

his erroneous understanding of the distinction between “content” and “viewpoint,” Opp.29, but his

continued confusion only makes H.B. 20’s use of “viewpoint” even vaguer.

       E.      H.B. 20 fails any level of First Amendment heightened scrutiny because De-
               fendant has not offered a sufficient interest or demonstrated proper tailoring.

       1. Defendant posits two interests. Both interests are not compelling, much less important.

       a. Defendant first asserts an interest in “the free and unobstructed use of public forums and

of the information conduits provided by common carriers.” Opp.23. This fails for multiple reasons.

First, privately owned platforms are not “public forums,” id., as they are not government property.

E.g., Manhattan Cmty., 139 S. Ct. at 1932 (“private entities’ rights to exercise editorial control

over speech and speakers on their properties or platforms”); Ark. Educ. Television Comm’n v.

Forbes, 523 U.S. 666, 678 (1998) (public-forum analysis limited to “historic confines”); Krishna,

505 U.S. at 678 (“government seeks to place [restrictions] on the use of its property”).

       Second, Defendant cites no case recognizing a governmental interest in “free and unob-

structed use . . . of the information conduits provided by common carriers.” Opp.23. In fact,

PG&E, Denver Area, and Turner all involved common carriers, and the Supreme Court did not

recognize such a governmental interest. PG&E involved a state-sanctioned energy monopoly com-

mon carrier, and the Supreme Court held that the business retained editorial discretion and could



                                                15
not be compelled to use its platform to disseminate others’ speech. 475 U.S. at 17-18 n.14. Denver

Area ruled that cable operators retained “editorial discretion” over the “freedom to pick and to

choose programming.” 518 U.S. at 738 (plurality op.).

         Turner recognized that cable companies had First Amendment rights implicated by their

selection of channels they curated for their users. Turner, 512 U.S. at 622, 659, 661.14 And Turner

applied heightened First Amendment scrutiny because the law “interfere[ed] with cable operators’

editorial discretion,” while requiring cable operators to carry just a few “certain minimum number

of broadcast stations”—but nothing close to all cable channels irrespective of content. Id. at 643-

44, 662. Indeed, Turner would have been an easy case if the government had a sufficient interest

in commandeering common carriers into disseminating speech (in fact, that interest would have

compelled cable television operators to carry a lot more than just broadcast channels). Instead,

Turner’s holding turned on the narrow rationale that cable operators must abide by a content-

neutral law requiring them to carry the few broadcast channels—to prevent “the 40 percent of

Americans without cable” from losing “access to free television programming” of broadcast chan-

nels, which the federal government had spent decades cultivating. Id. at 646; see Mot.33-34; Time

Warner Cable, Inc. v. Hudson, 667 F.3d 630, 640 (5th Cir. 2012). As Reno held, this broadcast-

television-specific analysis has no place in evaluating Internet First Amendment protections. 512

U.S. at 870. In all events, covered platforms are not common carriers, as discussed below (at pp.18-

24).

         Justice Thomas was therefore correct when he noted that labeling a law “a common carrier

scheme has no real First Amendment consequences.” Denver Area, 518 U.S. at 825 (Thomas, J.,




    14
      Unlike the must-carry-broadcast-channel rule in Turner, H.B. 20 is content-based and cannot survive height-
ened scrutiny. Defendants do not respond to many of Plaintiffs’ arguments on Turner. Mot.33-34.


                                                       16
concurring in judgment in part and dissenting in part).15 In short, the government may not designate

private companies as passive receptacles of other people’s speech, such that they lose their First

Amendment protections. See Hurley, 515 U.S. at 573 (government cannot declare “speech itself

to be the public accommodation”).

         Finally, Defendant’s interest is merely a reformulated version of the interest Tornillo re-

jected, and “state authority to regulate speech has not increased” since Tornillo was decided.

NetChoice, 2021 WL 2690876, at *7 (rejecting similar interest). Whatever general interest the

government has in the public having access to information, it lacks a specific interest in comman-

deering private actors to facilitate that interest. Tornillo, 418 U.S. at 247-48; Mot.31 (collecting

cases). The state cannot mandate such “enforced access”—even in the name of “enhanc[ing]”

speech, promoting “fairness,” or addressing supposedly “vast accumulations of unreviewable

power in the modern media empires.” Tornillo, 418 U.S. at 245, 250-51. And that is hardly the

only context in which the Court has rejected the idea that the state may restrict First Amendment

rights to enhance the speech of others. Mot.31 (collecting cases).

         b. Defendant contends that a second interest justifies H.B. 20: Preventing “discrimination”

by platforms. Opp.24. But the Supreme Court has rejected this interest: Even given a State’s gen-

eral interest in anti-discrimination laws, “forbidding acts of discrimination” is “a decidedly fatal

objective” for the First Amendment’s “free speech commands.” Hurley, 515 U.S. at 578-79.

         2. H.B. 20 is far from properly tailored. Defendant does not contest that the State had an

obvious alternative. If the State were truly interested in providing a public forum for speech, it

could have created its own social-media platform. But the Legislature expressly rejected that op-

portunity to instead burden private actors. Mot.35-36. There is an easy explanation for this: Based


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       Defendant asserts it is “curious” that Plaintiffs have cited this decision and a “singular line plucked from a
single Justice’s separate opinion.” Opp.10 n.62. But this reflects the Supreme Court’s precedents above.


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on the statements made by legislators and the Governor, H.B. 20’s true interest is in promoting

conservative speech on platforms that legislators perceive as “liberal”—not the “free flow” of all

information. Defendant concedes this in positing a “problem” on the platforms: “There is a skewed

exchange of ideas in the Platforms that prevents such a search for the truth.” Opp.20. But “where

the State’s interest is to disseminate an ideology, no matter how acceptable to some, such interest

cannot outweigh an individual’s First Amendment right to avoid becoming the courier for such

message.” Wooley v. Maynard, 430 U.S. 705, 717 (1977).

         F.        Characterizing covered platforms as “common carriers” makes no constitu-
                   tional difference—and is factually and legally wrong in all events.

         Defendant’s lead “common carrier” argument (Opp.2-10) misses the mark in many ways.16

         Common carriers retain First Amendment protection, as discussed above (at pp.15-17).

Defendant cites no case supporting the proposition that government can declare covered platforms

“common carriers” and eliminate their First Amendment rights. See TechFreedom Br.2.

         In any event, covered platforms are not common carriers, as they do not “provid[e] speech

conduits for the public.” Opp.9. There is an irreconcilable tension between H.B. 20’s purpose (to

prevent perceived different treatment of users and expression by limiting editorial discretion) and

H.B. 20’s justification (that covered platforms are indifferent as to users). This dooms the law.

         1. Covered platforms are not common carriers under the centuries-old definition as they

“discriminate” both as to users and to content. Indeed, the judges who jointly authored the primary

case Defendant cites (Opp.3)—for the proposition that covered platforms are common carriers

without First Amendment rights—observed exactly the opposite: “web platforms such as Face-

book, Google, Twitter, and YouTube . . . are not considered common carriers that hold themselves


    16
       Defendant supports these common-carrier arguments with reference to an additional legal brief that Defendant
calls an “expert report.” See Dkt.39-1. Plaintiffs have moved to strike this brief as it is not an admissible expert report.
See Dkt.43. Nevertheless, where necessary, Plaintiffs respond to the legal arguments presented in that brief.


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out as affording neutral, indiscriminate access to their platform without any editorial filtering.”

U.S. Telecom Ass’n v. FCC, 855 F.3d 381, 392 (D.C. Cir. 2017) (“USTA II”) (per curiam) (Srini-

vasan & Tatel, JJ., concurring in the denial of reh’g en banc); accord id. at 433 (Kavanaugh, J.,

dissenting from denial of reh’g en banc); see U.S. Telecom Ass’n v. FCC, 825 F.3d 674, 741 (D.C.

Cir. 2016) (Tatel & Srinivasan, JJ.) (“USTA I”).

       To the contrary, covered platforms maintain detailed terms and conditions plus community

standards, and they require users to agree to and abide by those terms and standards as a condition

of access. They enforce those terms and standards routinely, making individualized decisions

about what content to display or restrict, which users to grant, deny, or remove access, and how to

adapt their standards to changing circumstances, while constantly engaging in “editorial filtering.”

Accordingly, “social media companies exercise too much discretion over the content they host to

be regarded as common carriers or public accommodations.” Christopher S. Yoo, The First

Amendment, Common Carriers, and Public Accommodations, 1 J. Free Speech L. 463, 504 (2021).

       In fact, Congress through 47 U.S.C. § 230(c)(2) underscored and sought to promote cov-

ered platforms’ protected right to exclude speakers and speech through content moderation. See

Doe v. MySpace, Inc., 528 F.3d 413, 418 (5th Cir. 2008). Congress wanted service providers to

continue making editorial judgments that weed out objectionable content, and Congress enacted

Section 230 to ensure that fear of liability would not force providers to act as mere common carri-

ers. Just as Congress intended, online service providers have not displayed all materials, but have

built their own communities according to their own values.

       2. Defendant contends that this Court should apply a different, non-exhaustive, multifactor




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test to evaluate whether covered platforms are “common carriers” lacking First Amendment pro-

tections. Opp.3 (citing USTA I, 825 F.3d at 741).17 But there is no basis in law for this test (or set

of tests). Plus, such a non-exhaustive, multi-factor test is inappropriate in the First Amendment

context, which “must eschew ‘the open-ended rough-and-tumble of factors.’” FEC v. Wis. Right

To Life, Inc., 551 U.S. 449, 469 (2007) (controlling op. of Roberts, C.J.).

         3. Even under Defendant’s preferred test, covered platforms are not common carriers.

         First, Defendant declares that the platforms’ alleged “market power” justifies treating them

as common carriers. But common-carrier status turns on offering service under non-discriminatory

yet reasonable terms to all members of the public and all content—not “market power.” “[N]one

of the standard judicial definitions of common carriage depend on the presence of market power.”

Yoo, Common Carriers, 1 J. Free Speech L. at 467; accord Phil Nichols, Redefining “Common

Carrier”, 1987 Duke L.J. 501, 517-18.

         That is why the Supreme Court rejected the idea that the Miami Herald’s market power in

Tornillo justified the state’s right-of-reply law. Tornillo held that government could not infringe

First Amendment rights of even a “noncompetitive and enormously powerful” company with a

“monopoly” on the “marketplace of ideas” to promote “fairness” or address “vast accumulations

of unreviewable power in the modern media empires.” 418 U.S. at 249, 250-51. And PG&E vin-

dicated First Amendment rights of even a state-sanctioned monopoly. 475 U.S. at 17-18 & n.14

(plurality op.); TechFreedom Br.10-11.

         Defendant effectively asserts that—by successfully creating and fostering large communi-

ties according to their unique values—covered platforms lose the right to continue to shape them


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       This test seems to be drawn from Justice Thomas’s separate certiorari-stage statement concurring in the vacatur
of a court of appeals decision based on mootness. Biden v. Knight First Amendment Inst., 141 S. Ct. 1220, 1226 (2021).
The underlying Knight case was dismissed as moot at the certiorari stage before merits briefing could occur. Knight
is not a binding precedent. Cf. King v. Facebook, Inc., 2021 WL 5279823, at *14 (N.D. Cal. Nov. 12, 2021).


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to those values. Opp.7. But the “enviable” “size and success” of covered platforms does not “sup-

port[] a claim that [the covered platforms] enjoy an abiding monopoly of access to spectators.”

Hurley, 515 U.S. at 577-78. As the Supreme Court has long recognized, those “who open their

property for speech” retain “the ability to exercise what they deem to be appropriate editorial dis-

cretion within that open forum.” Manhattan Cmty., 139 S. Ct. at 1930-31. Private platforms would

otherwise be faced with “the unappetizing” and unconstitutional “choice of allowing all comers or

closing the platform altogether.” Id. at 1931.

       In all events, the Legislature made no legislative findings about market power. Opp.3. And

Defendant must do more than cite one judicial opinion to show that all covered platforms have

sufficient “market power.” See FTC v. Facebook, Inc., 2021 WL 2643627, at *12 (D.D.C. June

28, 2021) (“bare assertions . . . too conclusory to plausibly establish market power in any context”).

Moreover, no platform possesses “the physical power to silence anyone’s voices, no matter . . .

their alleged market shares.” Zhang v. Baidu.com, 10 F. Supp. 3d 433, 437, 441 (S.D.N.Y. 2014).

       Second, covered platforms do not receive any particular “countervailing benefit” from the

government sufficient to make them common carriers. Opp.4-5. They certainly do not receive such

a benefit from Texas—the State purporting to impose common-carrier regulation. See Yoo, Com-

mon Carriers, 1 J. Free Speech L. at 504 (“Any deal implicit in that statute must be internal to the

statue itself.”). Defendant’s conclusory assertions that covered platforms receive tax benefits fail

to include (1) which platforms receive such benefits; (2) what the qualifications for such benefits

are; and (3) how receipt of such tax benefits confirms common carrier status as a matter of law.

The examples that Defendant does provide cannot carry his burden. For instance, the federal In-

ternet Tax Freedom Act provided a moratorium on “taxes on Internet access.” Pub. L. No. 105-

277, 112 Stat. 2681-719 (1998). Defendant and his expert do not explain precisely how this affects




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covered platforms relative to anyone else that provides “Internet access.” In fact, H.B. 20 explicitly

excludes Internet service providers. Tex. Bus. & Com. Code § 120.001(1)(A).

       Regarding Section 230 benefits, Congress itself has disclaimed any intent that Section 230

“be construed to treat interactive computer services”—all websites and applications—“as common

carriers.” 47 U.S.C. § 223. Defendant is thus flatly wrong to argue that Congress imposed com-

mon-carrier “treatment” on covered platforms (or the rest of the Internet). Opp.9.

       Third, Defendant argues (Opp.5-6) that covered platforms are common carriers because

they “are open to the public,” in that they allow people to sign up for their communities. But, again,

common carrier status turns on providing a service under non-discriminatory yet reasonable terms,

not whether members of the public can apply for the service. Defendant concedes that social-media

platforms are not “traditional public forums,” but nevertheless contends that the Internet has

changed the relevant analysis. Opp.5. This too ignores Reno’s holding that there is “no basis for

qualifying the level of First Amendment scrutiny that should be applied to this medium.” 521 U.S.

at 870. And of course, bookstores, theaters, and art museums are all open to the public as well, but

that does not convert them into common carriers.

       Fundamentally, Defendant ignores that users can sign up for and use covered platforms’

services only after agreeing to the platforms’ respective terms of service and other policies. This

confirms that platforms do not passively take all comers, and they only disseminate speech meeting

their policies for acceptable content. E.g., Potts Dep. 35:5-6; Potts Dep. 40:24-41:11; Veitch Dep.

16:11-17:22; Szabo Dep. 75:6-21; Szabo Dep. 76:10-77:6; YouTube Decl. ¶ 12 n.1; Facebook

Decl. ¶ 11. In other words, the only access covered platforms permit is access that complies with

the platforms’ subjective policies governing acceptable expression and conduct—and they remove




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users who fail to comply. Potts Dep. 36:18-38:21, 39:23-41:11; Schruers Dep. 55:2-7.18 Further-

more, platforms bar certain people from their platforms irrespective of those people’s compliance

with particular policies about permissible expression. E.g., Ex.C ¶ 53 (YouTube age restrictions);

Veitch Dep. 21:7-15 (limitations on new YouTube accounts); Potts Dep. 35:5-16, 36:18-37 (Fa-

cebook restrictions on age, specific criminal history, and affiliations with terrorist organizations);

Schruers Dep. 51:14-52:10; Szabo 76:10-77:6. This is not “indifferent” service of users, as com-

mon-carrier status requires.19 Moreover, even if platforms act “indifferently” as to users (and they

do not), they still engage in editorial discretion over user-submitted content—so the platforms

cannot be “common carriers” as to dissemination of expression.20

         Fourth, Defendant remarkably asserts that a single state legislature may strip businesses of

First Amendment rights by merely declaring the businesses common carriers. Opp.8-9. Not sur-

prisingly, no cases Defendant cites stand for the proposition that the government may strip those

engaged in the dissemination of speech of their First Amendment rights. In each case, businesses

that served customers indifferently were recognized and regulated as common carriers. In W. Union

Tel. Co. v. James, 162 U.S. 650, 653-54 (1896), for instance, the Supreme Court did not consider



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        Contrary to Defendant’s assertion (Opp.7), Facebook did not testify that there are “billions” of fake accounts
at any given time. Potts Dep. 39:12-22.
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        Defendant rightfully relegates PruneYard Shopping Center v. Robins, 447 U.S. 74 (1980), to a footnote. Opp.8
n.46. Defendant ignores Plaintiffs’ distinctions of PruneYard. See Mot.22-23; TechFreedom Br.11, 13-14 n.4. Instead,
Defendant argues that PruneYard confirms the government can force private businesses to “host” others’ speech.
Opp.8 n.46. But Defendant has no answer to the fact that, in PruneYard, “the [mall] owner did not even allege that he
objected to the content of the [speech]; nor was the access right content based.” PG&E, 475 U.S. at 12; see Hurley,
515 U.S. at 580. That is why PruneYard—in contrast to Tornillo and others—involved no “intrusion into the function
of editors.” 447 U.S. at 88 (internal quotation marks omitted). In other words, requiring the mall to “host” others’
expression had no impact on the mall’s (nonexistent) expression. Id. at 88. Other courts have recognized PruneYard’s
limited application, especially to the Internet. E.g., hiQ Labs, Inc. v. LinkedIn Corp., 273 F. Supp. 3d 1099, 1116 (N.D.
Cal. 2017).
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        Defendant cites Lloyd Corp. v. Tanner, 407 U.S. 551 (1972), for the proposition that private property made
open to the public becomes a public forum. Opp.7. This is wrong for two reasons. First, Lloyd rejected a hand-biller’s
claim of a First Amendment right to access others’ private property. Id. at 570. Second, as the Supreme Court made
clear recently, those “who open their property for speech” retain “the ability to exercise what they deem to be appro-
priate editorial discretion within that open forum.” Manhattan Cmty., 139 S. Ct. at 1930-31.


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a First Amendment challenge

       Fifth, covered platforms do not play the same role in the “communications industry” as

railways, phone providers, or cable providers. Opp.3 n.13, 25 n.141. Turner recognized “unique

physical characteristics” that give cable companies a natural monopoly over physical infrastruc-

ture, and thus “bottleneck, or gatekeeper, control” over what consumers can access. 512 U.S. at

639, 656; see Mot.33-34. Defendant ignored Plaintiffs’ argument that no such natural monopolies

exist here. See Zhang, 10 F. Supp. 3d at 441 (platforms lack “the physical power to silence any-

one’s voices”). Plus, the Denver Area cable companies retained their First Amendment rights, as

addressed above (at p.16). “[A]ny definition of communication broad enough to include social

media would also encompass actors such as newspapers that clearly enjoy full First Amendment

protection.” Yoo, Common Carriers, 1 J. Free Speech L. at 503.

       Finally, H.B. 20 is not a common-carrier statute because it imposes requirements beyond

reasonable nondiscrimination. See TechFreedom Br.14-15. H.B. 20’s central prohibition against

content moderation based on viewpoint would forbid covered platforms from (as Defendant says

at Opp.7) “deny[ing] service to unruly” users like Nazis who wish to spew their hate speech.

III.   H.B. 20 is preempted by the Communications Decency Act, 47 U.S.C. § 230.

       Defendant first argues Plaintiffs lack a cause of action to raise Section 230 preemption.

Opp.31. But Plaintiffs highlighted their causes of action under both Ex Parte Young and federal

equity as well as 42 U.S.C. § 1983. See Plfs. Standing Br.13 & n.12 (citing Golden State Transit

Corp. v. Los Angeles, 493 U.S. 103, 107 n.4 (1989); Air Evac EMS, Inc. v. Tex. Mut. Ins. Co., 851

F.3d 507, 516-17 (5th Cir. 2017)). Defendant offered no response.

       None of Defendant’s arguments on Section 230 preemption are persuasive.

       Defendant ignores binding Fifth Circuit precedent interpreting Section 230(c)(1) that “Sec-

tion 230 ‘specifically proscribes liability’” for a service’s “decisions relating to the monitoring,


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screening, and deletion of content from its network.” Doe, 528 F.3d at 420; see Mot.38. Indeed,

Defendant disregards Section 230(c)(1) altogether in its brief. Section 230(c)(1) alone preempts

H.B. 20. E. Coast Test Prep LLC v. Allnurses.com, Inc., 307 F. Supp. 3d 952, 964 (D. Minn. 2018);

Winter v. Facebook, Inc. et al., 2021 WL 5446733, at *5 (E.D. Mo. Nov. 22, 2021); Domen v.

Vimeo, Inc., 433 F. Supp. 3d 592, 600 (S.D.N.Y. 2020); see also Barnes v. Yahoo!, Inc., 570 F.3d

1096, 1105 (9th Cir. 2009).

         Defendant’s arguments specific to Section 230(c)(2) are also flawed. Defendant asserts

(Opp.31-33) that Section 230(c)(2) only protects moderation of objectively “objectionable” con-

tent—not decisions based on subjective “viewpoint.” But Section 230(c)(2) unambiguously pro-

tects moderation of content that the services subjectively “consider[] to be,” among other things,

“objectionable. ” 47 U.S.C. § 230(c)(2); see United States v. Martin, 438 F.3d 621, 630 (6th Cir.

2006); Zango Inc. v. Kapersky Lab, 568 F.3d 1169, 1173 (9th Cir. 2009). In many cases, this will

turn on the viewpoint expressed by the user’s content.21 See EFF Br.16-18. Congress used “objec-

tionable” to capture a broad range of expression. E.g., Bryan A. Garner, Garner’s Modern English

Usage 642 (2016) (“open to objection; unacceptable; offensive”); Merriam-Webster’s Collegiate

Dictionary (10th ed. 1993) (“Undesirable, offensive.”).

         Defendant next asserts the ejusdem generis canon narrows Section 230’s reach (Opp.32-

33). But that contravenes both the limitations of that canon and Section 230’s express text, which

says “otherwise objectionable,” not “similarly objectionable.” The word “otherwise” means in “a

different manner,” “another way,” or “other ways,” Black’s Law Dictionary (6th ed. 1990), which

suggests that Congress meant to cover content that is distinct from the type of content in Section



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       For example, a platform is likely to find content that disparages minority groups to be harassing, but not content
that praises those same groups. The difference between lascivious content versus useful health information could turn
on viewpoint. The state’s “distinction” thus does not hold, even ignoring the language in § 230(c)(2)(A).


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230(c)(2)’s laundry list of adjectives. See Enigma Software Grp. USA, LLC v. Malwarebytes, Inc.,

946 F.3d 1040, 1051-52 (9th Cir. 2019) (“enumerated categories are not similar, [and] they provide

little or no assistance in interpreting the more general category.”). And both courts and dictionaries

recognize that “otherwise” has an “expansive reach,” bringing within a statute all types of the

item—in all its prodigious variety—to which the law refers (here, “objectionable” material).

United States v. Kerns, 9 F.4th 343, 351 (6th Cir. 2021); Gooch v. United States, 297 U.S. 124,

128 (1936) (“broad term”); Black’s Law Dictionary (11th ed. 2019) (“quite broad in scope.”).

Furthermore, Defendant conspicuously does not provide an alternative interpretation. Instead, De-

fendant says that “otherwise objectionable” only reaches content “similar to” the preceding cate-

gories—which is a recitation of the canon, not an interpretation that the canon helps produce.

         Defendant’s purported application of ejusdem generis has more problems. First, ejusdem

generis “is only an instrumentality for ascertaining the correct meaning of words when there is

uncertainty”—not a mechanism for rewriting an unambiguous statute. United States v. Kaluza,

780 F.3d 647, 661 (5th Cir. 2015) (citation omitted); accord Ali v. Fed. Bureau of Prisons, 552

U.S. 214, 226 (2008). Second, Defendant misapplies the ejusdem generis canon. Opp.32-33. Ra-

ther than look to the “initial terms” in Section 230(c)(2)(A)’s enumerated categories for a “readily

identifiable genus,” he instead asks this Court to seek out a common theme from the rest of the

statute. Antonin Scalia & Bryan A. Garner, Reading Law: The Interpretation of Legal Texts 199

(2012). Defendant does not explain what exactly that common theme is, though.

         Defendant argues Section 230 is (or could be) unconstitutional. Opp.33 & n.189. Defendant

does not cite any case so holding. Section 230 is constitutional, as many courts have ruled.22



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       Lewis v. Google LLC, 851 F.App’x 723, 724 n.2 (9th Cir. 2021); Green v. Am. Online, Inc., 318 F.3d 465, 472
(3d Cir. 2003); Lewis v. Google LLC, 461 F. Supp. 3d 938, 952-53 (N.D. Cal. 2020); Parker v. Paypal, Inc., 2017 WL
3508759, at *7 (E.D. Pa. Aug. 16, 2017).


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       Finally, Defendant argues that Section 230’s preemptive scope is narrow, extending only

to damages. Opp.34. But Section 230 preempts all inconsistent cases, as it provides that “[n]o

cause of action may be brought and no liability may be imposed under any State or local law that

is inconsistent with this section.” 47 U.S.C. § 230(e)(3) (emphasis added). This provision plainly

provides protection from both suit and any eventual liability—not merely damages. The phrase

“held liable” covers all legal violations—not just the remedy of money damages, as numerous

courts have held. E.g., Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250, 254 (4th

Cir. 2009) (CDA “immunity” is “an immunity from suit rather than a mere defense to liability”)

(internal quotation marks omitted).

IV.    H.B. 20 violates the Commerce Clause.

       Defendant does not dispute that H.B. 20 compels covered platforms to continue operating

in Texas, even if they wanted to cease Texas operations instead of complying with H.B. 20’s on-

erous restrictions. Mot.41. H.B. 20 prohibits covered platforms from denying access based on “a

user’s geographic location in this state or any part of this state.” Tex. Civ. Prac. & Rem. Code

§ 143A.002(a)(3). This is a blatant Commerce Clause violation that facially “discriminate[s]” in

favor of “in-state” interests. Opp.30. The Commerce Clause “prohibit[s]” Texas from denying

companies “the choice to stay or leave.” Nat’l Elec. Mfrs. Ass’n v. Sorrell, 272 F.3d 104, 111 (2d

Cir. 2001). Punishing businesses for preferring to leave Texas and do business in other states un-

constitutionally discriminates against them “according to the extent of their contacts with the local

economy.” Lewis v. BT Inv. Managers, Inc., 447 U.S. 27, 42 (1980).

       Nor does Defendant dispute that H.B. 20 restricts how covered platforms may moderate

user-submitted content worldwide. H.B. 20 creates an entitlement for Texas users (regardless of

where they are located at any given time) not only to post but also to “receive the expression of




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another person”—located anywhere in the world—that cannot be moderated based on “the view-

point of . . . another person.” Mot.9, 40 (quoting Tex. Civ. Prac. & Rem. Code § 143A.002(a)(3)).23

         Defendant argues that the Commerce Clause does not preclude H.B. 20 Texas’s regulation

of social-media platforms because Congress enacted Section 230 (which Defendant has suggested

is unconstitutional). Opp.34-36.24 Nothing in Section 230 allows a state to compel a covered plat-

form to continue operating in the state if the platform would rather cease in-state operations than

change its entire business model due to an onerous state law. Furthermore, Defendant concedes

that “Section 230 does not authorize . . . state law[s].” Opp.35.25And a federal statute must contain

“unmistakably clear” and “unambiguous indication of congressional intent . . . before a federal

statute will be read to authorize otherwise invalid state legislation.” Maine v. Taylor, 477 U.S. 131,




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        Defendant attacks a strawman by suggesting that Plaintiffs’ members seek to be “immune to state regulation”
because they operate online. Opp.42-44. Defendant does not dispute that H.B. 20 has the “practical effect” of regulat-
ing beyond Texas’s borders, because H.B. 20 compels platforms to distribute Texans’ posts worldwide and restricting
how platforms moderate content posted worldwide by non-Texas users.
     Defendant wrongly argues that Plaintiffs “sidestep[ ] the traditional dormant Commerce Clause analysis.” Opp.
at 39. The rule against extraterritorial state regulation is a well-established “variation[ ]” of that analysis. South Dakota
v. Wayfair, Inc., 138 S. Ct. 2080, 2091 (2018) (citing Brown-Forman Distillers Corp. v. New York State Liquor Au-
thority, 476 U.S. 573 (1986)). Defendant dismisses that rule as only applicable to regulations of out-of-state prices.
Opp.41-42 (citing Pharm. Research & Mfrs. of Am. v. Walsh, 538 U.S. 644, 669 (2003) (plurality op.)). But Walsh
“does not suggest that” the extraterritoriality principle “applies exclusively to ‘price control or price affirmation stat-
utes.’” Ass’n for Accessible Medicines v. Frosh, 887 F.3d 664, 670 (4th Cir. 2018). Walsh did not arbitrarily limit that
principle but simply found that the challenged law would not actually affect out-of-state prices. 538 U.S. at 669; see
Edgar v. MITE Corp., 457 U.S. 624, 642-43 (1982) (plurality op.) (striking down extraterritorial anti-takeover statute);
S. Pacific Co. v. Arizona ex rel. Sullivan, 325 U.S. 761, 775 (1945) (striking down extraterritorial train-length regula-
tion).
     24
        Defendant also argues that the Commerce Clause does not restrict H.B. 20 because the statute does not regulate
commerce. Opp.36-38, 44. That is wrong because, as Defendant concedes, “Congress now has a Commerce Clause
power over communication and information.” Opp.37. Defendant insists, without citation, that the scope of those state
restrictions should not mirror the modern scope of Congress’s affirmative power to regulate under the Commerce
Clause. Opp. at 36-38. But the Supreme Court has emphatically rejected such a “two-tiered definition of commerce.”
Camps Newfound/Owatonna, Inc. v. Town of Harrison, 520 U.S. 564, 574 (1997) (internal quotation marks omitted).
“The definition of ‘commerce’ is the same when relied on to strike down or restrict state legislation as when relied on
to support some exertion of federal control or regulation.” Id. (citation omitted).
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        Section 230(e)(3)’s generic saving clause merely “defines the extent of the federal legislation’s pre-emptive
effect on state law,” and thus “do[es] not indicate that Congress wished to remove federal constitutional constraints
on such state laws.” Sporhase v. Nebraska, ex rel. Douglas, 458 U.S. 941, 959-60 (1982); accord Wyoming v. Okla-
homa, 502 U.S. 437, 457-58 (1992); Lewis, 447 U.S. at 48-49.


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139 (1986).26

V.        H.B. 20 is facially invalid, overbroad, and cannot be saved by its severability clause.

          Defendant contends that H.B. 20 is not overbroad because it does not prohibit content mod-

eration. Opp.30. This argument relies both on Defendant’s misunderstanding of what constitutes

“viewpoint” and his erroneous assertion that common carriers lack First Amendment rights, which

are addressed above, at pp.9-11, 15-17. Covered platforms engage in content moderation based on

“viewpoint,” and H.B. 20 prohibits all such content moderation—while imposing onerous disclo-

sure and operational requirements. That makes H.B. 20 unlawful in all applications and overly

overbroad.

          Contrary to Defendant’s assertion (Opp.45-48), H.B. 20’s severability clause does not save

the law from facial invalidation, nor does the severability clause require this Court to parse each

individual subsection of the law to invalidate Sections 2 and 7. Mot.37.27 H.B. 20’s central defec-

tive definitions permeate the challenged sections: “social media platform” applies to both Sections

2 and 7; “censor” applies to Section 7; and both are unconstitutional content- and speaker-based

infringements on editorial discretion that fail heightened First Amendment scrutiny. In all circum-

stances when H.B. 20’s restrictions apply (i.e., all disclosure and operational requirements and all

content moderation based on “viewpoint”), Sections 2 and 7 are unlawful. See Mance v. Sessions,

896 F.3d 699, 705 n.23 (5th Cir. 2018) (citing City of L.A. v. Patel, 576 U.S. 409, 418 (2015)).

“There is nothing that could be severed and survive.” NetChoice, 2021 WL 2690876, at *11.



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        Defendant faults Plaintiffs for failing to address Pike balancing. Opp.41. Plaintiffs pleaded it in their complaint
but do not invoke it for preliminary injunctive relief.
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        Defendant does not dispute that H.B. 20’s saving clauses (Tex. Civ. Prac. & Rem. Code §§ 143A.004(d);
143A.005; 143A.006(a)(1)) do not preclude judicial review. See Mot.36-37. In fact, Defendant himself—relying on
the same cases Plaintiffs cited in their motion—has recognized in another case that purported saving clauses “do[ ] not
immunize [laws] from judicial review” and argued the existence of such clauses “suggests that the [law] is unenforce-
able.” Plfs. Memo. in Opp. to Mtn. to Transfer Venue, No. 2:21-cv-00778, Louisiana v. Biden (W.D. La. May 4,
2021), 2021 WL 2644609, n.3 (citations omitted).


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VI.     The remaining factors favor a preliminary injunction.

        Defendant does not dispute that a violation of the First Amendment necessarily results in

irreparable injury. Mot.43. Nor does he dispute the evidence that covered platforms will have to

expend unrecoverable funds to comply with the law. Mot.44. H.B. 20 would require some of the

world’s largest websites to completely alter their business models to allow far more objectionable

speech to be disseminated across the globe—a boon to hate speakers and misinformation peddlers,

at the expense of the broader public and the platforms’ goodwill with their users.

        Defendant pretends that H.B. 20 will not cause users to “encounter more offensive view-

points.” Opp.49. But Defendant’s brief does not disavow his enforcement of H.B. 20 against cov-

ered platforms. And Defendant refuses to address whether he believes that H.B. 20 prohibits cov-

ered platforms from moderating content with objectionable, offensive viewpoints—like Holocaust

denial, pro-Nazi speech, terrorist propaganda, and misinformation.

        Defendant does not dispute that “injunctions protecting First Amendment freedoms are

always in the public interest.” Mot.45. Instead, Defendant complains that covered platforms should

either lose Section 230 protection “for the content they decide to publish” or be treated as “com-

mon carriers.” Mot.50. The former is a policy argument for Congress. The latter runs squarely into

the First Amendment, which protects social-media platforms’ decisions not to publish speech. And

no federal or state statute can alter that established constitutional principle.

                                           CONCLUSION

        Plaintiffs respectfully request that this Court preliminarily enjoin the Texas Attorney Gen-

eral from enforcing Sections 2 and 7 of H.B. 20 against Plaintiffs and their members.




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Dated: November 24, 2021                   Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on November 24, 2021, the foregoing was filed electronically via the Court’s

CM/ECF system, causing electronic service upon all counsel of record.

                                                    /s/ Todd Disher
                                                    Todd Disher
